From: Melaninaire Lashes <melaninairelashes@gmail.com>
         Case
Date: April      5:22-cv-05691-BLF
            25, 2021 at 3:56:39 PM EDT Document 21-2 Filed 02/10/22 Page 1 of 4
To: KTMBUSINESS12@gmail.com
Subject: Business inquiry

Good afternoon. I sell lashes my Instagram handle is @purental_advisory. I was wondering if i can send
you a few pairs of lashes for a promotion even if i would have to pay if you don’t mind? My lashes
Instagram is @melaninairelashes and my website is www.melaninairelashes.com I also have a platform
on YouTube where i do beauty videos my name is Purental Advisory on YouTube.

https://www.instagram.com/purental_advisory/

https://www.instagram.com/melaninairelashes/

https://m.youtube.com/channel/UCSEZJzm4YD_g8lZYFPfBbqA

-Thank you.




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          Case
From: Laura     5:22-cv-05691-BLF
             Sanchez                     Document 21-2 Filed 02/10/22 Page 2 of 4
                     <info@wmcclothings.com>
Date: June 22, 2021 at 9:53:36 AM EDT
To: KTMBUSINESS12@gmail.com
Subject: Collaboration Wmcclothings x lickmykakez

 Hi again lickmykakez! Just checking in to see if you got the first email. We would love to send you our
cute clothes for your review! All of this is free of charge and we can get it sent out to you right away!
Please let me know if you’re interested.

Best,

Laura
Wmcclothings

PS: If you don't want to hear from me anymore, just let me know
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From: Josseny Cadestin <info@jsclothings.com>
Date: JulyCase  5:22-cv-05691-BLF
          22, 2021 at 11:09:12 AM EDT Document 21-2 Filed 02/10/22 Page 3 of 4
To: KTMBUSINESS12@gmail.com
Subject: Collaboration J&S CLOTHINGS x lickmykakez

Hi Love! I’m Jennifer, head of growth at J&sclothings and we absolutely LOVE your content!!!

I wanted to reach out to you and let you know that we have a collaboration opportunity coming for you!
We have an upcoming online women's fashion clothing and would love to tell you a bit more about the
opportunity.

Please let me know if you’re interested so that we can get started as soon as possible!

We’re so excited to collaborate with you!

Best,

Jennifer
J&S CLOTHINGS

PS: If you don't want to hear from me anymore, just let me know
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         Case
From: Jeffery    5:22-cv-05691-BLF
              Singh                     Document 21-2 Filed 02/10/22 Page 4 of 4
                    <jeffery@optinsta.com>
Date: August 22, 2018 at 9:26:05 PM EDT
To: KTMBUSINESS12@gmail.com
Subject: Re: Your IG @lickmykakez + working together

Just wanted to check if you were able to review my last email about your @lickmykakez Instagram
account.

Please LMK if you are interested or have any questions.

Thanks!

On Saturday, August 18, 2018 at 12:55 AM, Jeffery Singh <jeffery@optinsta.com> wrote:
 Hello @lickmykakez;

 I saw your Instagram account and wanted to say hello. I really admire your work. I believe your
 Instagram account should be seen by more people and you truly have the potential to become
 an Instagram pro influencer.

 I work at OptInsta where we help hundreds of brands, photographers, models, bloggers and
 other creative people from all across the globe to expand their Instagram reach. We will love
 to work with you.

 We use ground-breaking social growth strategies to help you reach more users and grow your
 Instagram brand, engagement and followers. Visit How It Works page to learn more about our
 strategies and what we do.

 If you have any questions, please do not hesitate to email me :)

 Thanks and regards,

 Jeffery
 OptInsta.com


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